Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 1 of 16




                                     U nited States DistrictCourt
                                 for the Southern DistrictofFlorida
                                            M iam iDivision

                                   Case N o.: 1:19-m c-23253-K M W
     In Re:

     Application of M aigualida Naranjo
     Barrios for Foreign D iscovery A ssistance
     Pursuantto28U.S.C.j1782,
            Applicant, M aigualida Naranjo
            Barrios.
                                              /

                  A pplicant's M em orandum in SupportofEx ParteA pplication for
                   Discoverv A ssistance w ith Respectto Foreien LeealProceedines

            Thismemorandum issubmitted byM aigualidaNaranjoBarrios(tsApplicanf')in support
     of her Application for Assistance with Respect to Foreign Legal Proceedings (the
     iûApplication''),in connection with which the Applicant seeks discovery from Banesco USA
     (tdBanesco''),SunTrust Bank, Sun Trust Banks,lnc.,M iura lnvestment Advisors, Inc.f/k/a
     M ultiplicas lnvestm ent Advisors,        (ûûMiura''), Multiplicas Investments Ltd., M W M
     Investm ents Ltd. ltalo D'A lfonso, M ario V .D 'A lfonso, Hugo O rtega, and M ario G .Ovalles

     (collectively,thetERespondents'')pursuantto 28U.S.C.j 1782.
                                       1.      FactualContext

            A pplicant      Venezuelan national involved in ongoing Iegal proceeding in the

     BolivarianRepublicofVenezuela (çtvenezuela'')againstaVenezuelan nationalnamed Manuel
     SalvadorTorruellaSei
                        jastût-
                              rorruella''l(theçtForeignProceeding'').TheForeignProceedingwas
     initiated in 2015 by Torruella through a divorce petition againstApplicant,which has generated

     adivorcejudgment,andanongoingcollateralappellateattackagainstthedivorcejudgment.The
     Applicantm aintainsthatTorruella breached his legalobligationsto disclose fully alIofhisassets
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 2 of 16


                                                                    CaseN o.:1:19-m c-23253-KM W

     to herand to the Venezuelan courts. Speci
                                             Lfically,Applicanthas discovered thatTorruella had in

     2013,and may stillhave,bank accounts atBanesco and SunTrustBank,and a securities account

     w ith offshore com panies thathave linksto M iura.

            A pplicanthas becom e aw are that 'rorruella had or has a securities account with atleast

     twooffshorecompaniesbasedinBarbados,i.e.,MultiplicaslnvestmentsLtd.(GtM ultiplicas'')and
     M W M lnvestmentsLtd.(ûtM W M '')Upon information and belief,both offshore companieshave
     overlapping officers w ith M iura,a securities brokerage tsrm w ith its principalplace ofbusiness

     in M iam i-Dade County, Florida. The overlapping officers are M ario V . D 'A lfonso, Italo

     D 'Alfonso, Hugo Ortega, and M ario G .Ovalles, whom A pplicant believes are M iam i-based

     officers of M ultiplicas and M W M . Applicant believes that these individual Respondents

     directly and through M iura, M ultiplicas, and M W M       have been involved in overseeing

     Torruella's assets and m ay have docum ents orother inform ation pertaining to Torruella and or

     hisassetsin the United States.

            A pplicant requests that the Court provide discovery assistance in obtaining from

     Respondents any docum ents or other inform ation in their possession or controlthat m ay have

     regarding Torruella and or his assets. A Il of Respondents reside or are found in M iam i-Dade

     County,Florida.

                                        Il.    LeealD iscussion

            A.     Section 1782 Expressly A uthorizes the D iscovery Assistance H ere
                   Requested by the Applicants

            Section l782 grants United States district courts extrem ely broad authority to facilitate

     discovery in supportofforeign legalproceedings againstpersons orentities residing or found in

     a particularcourt's district. Section 1782 em bodies a longstanding congressionalpolicy favoring

     the liberalgrantofassistance to foreign proceedings in hopesofadvancing internationalcom ity
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 3 of 16


                                                                              CaseN o.:1:19-m c-23253-14.
                                                                                                        MW


     and fostering cooperation by foreignjurisdictionswith United Statesinterests.See,e.g.,In re
     BayerAG,l46F.3d 188,l91-192 (31.
                                    d Cir.1998)(stlsection l782 is)designedtofacilitatethe
     conductof litigation in foreign tribunals,im prove internationalcooperation in litigation,and put

     the United States into the leadership position among world nations in this respect.''l.lTo that
     end,28U.S.C.j l782providesinpertinentpartthat:
                     The district coul'
                                      t of the district in which a person resides or is

                     found may order him to give his testimony or statement or to

                     produce a documentor otherthingfor use in aproceeding in a
                     foreign orinternationaltribunal....Theordernnay benaade ...
                     upon theapplication ofany interestedperson and maydirectthat
                     the testim ony orstatem entbe given,orthe docum entorotherthing

                     be produced,before a person appointed by the court. By virtue of

                     his appointm ent,the person appointed haspowerto adm inisterany

                     necessary oath and take the testim ony orstatem ent. The orderm ay

                     prescribe the practice and procedure,w hich m ay be in w hole orin

                     part the practice and procedure of the foreign country or the


     l TheSenateReporttothe 1964 amendmentsnow incorporated into j 1782 describesthepurpose ofthe statuteas
     follows:

               Untilrecently,the United Stateshas notengaged itselffully in effortsto im prove practices of
            internationalcooperation in litigation. The steadily growing involvem entofthe United States in
            internationalintercourse and the resulting increase in litigation with international aspects have
            demonstrated the necessity forstatutory improvements and otherdevices to facilitate the conduct
            ofsuch litigation. Enactmentofthebillinto law willconstituteamajorstep in bringing the
            UnitedStatestotheforefrontofnationsadjustingtheirproceduresto thoseofsisternationsand
            thereby providing equitable and efficaciousprocedures forthe benetitoftribunals and litigants
            involved in litigation with internationalaspects.

                ltishoped thatthe initiativetaken by the United Statesin improving itsprocedureswillinvite
            foreigncountriessimilarlytoadjusttheirprocedures.
     S.Rep.No.ss-l5s0,at2 (1964),reprinted in 1964U.S.C.C.A.
                                                           N .3783.
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 4 of 16


                                                                     CaseN o.:1:19-m c-23253-KM W

                    international tribunal, for taking the testim ony or statem ent or

                    producing the document or other thing. To the extent that the

                    orderdoesnotprescribe otherwise,the testim ony orstatem entshall

                    be taken,and the documentorotherthing produced,in accordance

                    w ith the FederalRules ofCivilProcedure.

            Section 1782 assistance in the form of com pelled docum entproductions and depositions

     isaccordingly authorized against(i)any (iperson''thatStresides''orisûûfound''in thedistrictof
     thecourtwheretheapplicationismade,(ii)attherequestof(danyinterestedperson'',(iii)foruse
     dtin a proceeding in a foreign or international tribunal''.See 28 U.S.C. j l782. These
     requirementsareheresatisfied because'
                                         .(i)RespondentstEreside''oraretûfound''inthisdistrict,
     bymaintaining offices;(ii)theApplicantisan tEinterested person''becauseshe isaparty to a
     Foreign Proceeding;and (iii)the Foreign Proceedingsarependingorwillsoon be initiated in
     Ctforeign or internationaltribunals.''

            B.      TheU.S.SupremeCourthasReaffirmed j1782'sBroad Application
                    Through lts O pinion in Intel Corporation v.A dvanced M icro D evlces,
                    Inc.

                    1.      Intel's H oldings

            Theexceptionallybroad scopeofj1782wasreaffirmedinsweepingtermsbytheUnited
     States Suprem e Courtin lntel Corporation v.Advanced M icro Devices,Inc.,542 U .S.24l,124

     S.Ct.2466 (2004),wheretheSupremeCourt:
                    (i)     interpreted the i'interested party'' element of j l782 to
                            include aggrieved interests that are not even direct parties

                            to the foreign proceeding forwhich discovery assistance is

                            sought. 1d.at256-257 and 2479*
                                                         ,


                                                     4
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 5 of 16


                                                                     Case N o.:l:l9-m c-23253-KM W

                           defined the foreign dstribunal'' requirement expansively

                           beyondjudicialproceedingsto includeinvestigative,quasi-
                          judicial,administrative,orarbitralproceedings,whichneed
                           noteven be pending at the time a j 1782 application is
                           m ade. 1d.at258 and 2479.
                                                   ,and

                   (iii) confirmed that j 1782 relief is available regardless of
                           whetherthe type of discovery elicited is perm issible in the

                           foreign jurisdiction,even where the foreign tribunal in
                           question explicitly declined to elicit discovery assistance

                           from U .S.courts. 1d.at253 and 2476.

                   2.      Section 1782 is a Codification of a Long-standing U .S.Public
                           Policy ofProm oting lnternationalC ooperation in Litigation

            A significantanalyticalbasis forIntel's holdings is a long history of legislative effortsto

     facilitate U.S.assistance to foreign courts. The Supreme Courthas explained thatûûlslection
     1782 is the product of congressional efforts, over the span of nearly l50 years, to provide

     federal-courtassistance in gathering evidence for use in foreign tribunals.'' Intel,542 U .S.at

     247, l24 S. Ct. at 2473.ûdln 1948, Congress substantially broadened the scope of assistance

     federal courts could provide for foreign proceedings. That legislation,codified as j 1782,
     elim inated the priorrequirem entthatthe governm entofa foreign country be a party orhave an

     interestin theproceeding. ... Thenextyear,Congressdeleted ûcivilaction'from j 1782'stext
     and insertedjudicialproceeding.'''1d.at247-248and2473.dûln l958,promptedbythegrowth
     of internationalcom m erce,Congress created a Com m ission on lnternationalRules of Judicial

     Procedure(RulesCommission)to ûinvestigateandstudyexisting practicesofjudicialassistance
     and cooperation between the United States and foreign countries with a view to achieving
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 6 of 16


                                                                   CaseN o.:1:19-m c-23253-KM W

     im provem ents.'      Six years later, il1 1964, Congress unanim ously adopted legislation

     recommended bytheRulesCommission;thelegislation includedacompleterevisionofj 1782.''
     1d.at248-249 and 2473-2474.

            $tAs recastin 1964,j 1782 provided forassistance in obtaining documentary and other
     tangibleevidence aswellastestimony. Notably,Congressdeleted thewords,$in anyjudicial
     proceeding pending in any courtin a foreign countly,'and replaced them w ith the phrase ûin a

     proceeding in a foreign orinternationaltribunal.'''lntel,542 U .S.at248-249,124 S.Ct.at2474.

     The Intel opinion notes that the Senate Report regarding the 1964 am endm ent ûûexplains that

     Congress introduced the w ord çtribunal'to ensure that tassistance isnotconfined to proceedings

     beforeconventionalcourts,'butextendsalsotoûadministrativeandquasi-judicialproceedings.'''
     1d.at249 and 2474.

                   3.     Intel'sFactslllustratej1782'sExtensiveScope
            The SupremeCourt'sauthorizationofj 1782 assistance inlntelinvolveda fairlyextreme
     set of circum stances that highlight the broad availability of discovery assistance under the

     statute.Thelntelcasearosefrom acommercialrivalrybetweenIntelCorporation(ûslntelCorp.'')
     and its principal competitor, Advanced M icro Devices, Inc.(éçAM D'') which initiated an
     antitrust com plaint against lntel Corp.in the European U nion. The m em ber countries of the

     European Union are bound togetherpursuantto the European U nion Treaty. The Com m ission of

     theEuropeanCommunities(theççcommission'')isaseniorexecutiveandadministrativebodyfor
     the European Union, responsible for a w ide range of m atters. The D irectorate-General for

     CompetitionoftheCommission(theikDirectorateGeneral'')operatesundertheCommission and
     constitutes the European Union's principal antitrust law enforcer, analogous to the Antitrust

     D ivision of the United States Departm ent of Justice. The D irectorate General's ûitoverriding


                                                   6
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 7 of 16


                                                                    Case N o.:1:19-m c-23253-KM W

     responsibility is to conduct investigatiolls into alleged violations of the European U nion's

     com petition prescriptions.'' Intel,542 U .S,at254,124 S.Ct.at2477.

                 a consequence of A M D 'S com plaint, the D irectorate General initiated an

     investigation- i.z.,notan adjudicatory proceeding regarding IntelCorp.'salleged European
     Union antitrustviolations. ln connection w ith that investigation,A M D   which wtz,
                                                                                        Nnotactually

     a rlrl to any pertinentlitigation or adjudicatory pm cccJfng- initiated a j 1782 discovery
     request in the United States to com pel IntelCorp.to provide discovery in connection w ith the

     DirectorateGeneral'songoinginvestigation.AMD'Sj 1782application wasinitiatedonlyafter
     theDirectorateGeneralhaddeclinedAMD 'srequestthattheDirectorateGeneralitselfinitiate
     a# 1782applicationintheUnited StatestoobtaincertaindocumentsthatlntelCorp.hadearlier
     produced in a U nited States antitrustlaw suit. lntel,542 U .S.at251,124 S.Ct.at2475. The EU

     also expressly opposed the pw?# of f 1782 ê'assistance''through amicus curiae brieflngsin
     connection with the U S.Suprem e Courtproceedings. 1d.at265 and 2484.

            C.     The Intel O pinion Supports the Extension of D iscovery A ssistance
                   H ere

                           Respondents are each a idperson''that M ay be C om pelled to
                           Providej1782Discovery
            Section 1782 authorizesthe Coul'tto com pelany tûperson''that(tresides''or is Stfound''in

     this districtto provide discovery. Respondents qualify as a ikperson''under j l782 and The
     DictionaryAct.See 1 U.S.C.j l.The DictionaryActstatesthatttliln determ ining the meaning
     of any Act of Congress, unless the context indicates otherwise ... the words dperson' and

     twhoever'includecorporations,companies,associations,firms,partnerships,societies,andjoint
     stockcompanies,aswellasindividuals....''1U.S.C.j1.




                                                    7
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 8 of 16


                                                                            CaseN o.:1:19-m c-23253-KM W

             Respondents in addition ttreside''orare 4dfound''in this district,by m aintain offices here.

     The inclusion of the w ord tûfound''highlights the exceedingly low standard for satisfying this

     aspectofj 1782.Forexample,theSecondCircuitCourtofAppealshasheldthatapersonmay
     properly be compelled to provide discovery underj 1782 who livesand worksabroad,and was
     scrved w ith a subpoena w hile visiting the United States. See In re Edelman,295 F.3d 171,l79

     (2nd Cir.2002)(UponnotingthattheFederalRulesofCivilProcedureenablejudgestoafford
     w itnesses protection,the coul't concluded that ûtw hen a potentialw itness com es to the United

     Statesitisneitherunfairnorinappropriateunderthe statutetoundertakehisdiscovery here.'').
     The A pplicant anticipates serving Respondents w ith a subpoenas in this district upon the

     issuance ofan orderby the Courtauthorizing the discovery assistance here requested.z

                     2.      The ApplicantSatisfies the ddlnterested Party''Elementofj
                              1782

             The Applicanteasily qualifiesastkinterested parties''underj 1782. Intelhighlightsthe
     exceptionallylow thresholdforsatisfyingthisrequirement.ikgljitigantsareincludedamong,and
     maybethe mostcommon exampleof,the Einterested personlsl'who may invoke j1782
     lntel, 542 U .S.at256, 124 S.Ct.at2478. In holding thatA M D was an interested party,the

     Suprem e Courtbased its conclusion on the factthatin the EU process forw hich assistance was

     sought,AM D had certain rights as a flcomplainanf', including the right to: (i) prompt an
     investigation'
                  ,(ii) submit infonmation for review by the Directorate General;and (iii) seek
     judicialreview inthe eventthe EU Commissiondiscontinuestheinvestigationordismissesthe
     com plaint. 1d.at 257-258 and 2478. H ere,the A pplicant is an actualparty to the existing or




     7 liionce discovery is authorized underj 1722,the federaldiscovery rules,Fed.R.Civ.P.26-36,contain the
     relevantpractices and procedures forthe taking oftestimony and the production ofdocum ents.''' Weber v.Finker,
     554F.3d 1379,1334-1385(11thCir.2009)(quotingInreClerici,481F.3d 1324,1336(11th Cir.2007).
                                                          8
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 9 of 16


                                                                    CaseN o.:1:l9-m c-23253-KM W

     im mediately anticipated Foreign Proceeding that im pact directly the Applicant's substantive

     econom ic interests,with respectto which she hassubstantiallegalrights.

                   3.      The Foreign Proceedings Satisfy the Foreign dirrribunal''
                           Requirementofj1782
            Section 1782's requirem ent that the discovery sought be ttfor use in a proceeding in a

     foreign or internationaltribunal''is also here satisfied,since the Foreign Proceedings involve a

     court proceeding. lntel confirm s a m uch low er threshold for satisfying the ûtforeign or

     internationaltribunal''requirem entby concluding thatthe D irectorate General,which ism erely a

     governmental investigative body and not a court or other adjudicatory institution is a
     ûûtribunal''underj l782 in lightofitsroleinabroaderlegalprocess.Forexam ple,asaclaimant,
     AM D retained the rightultim ately to com m ence courtproceedingsto review any discontinuation

     ofthe Directorate General'santitrustinvestigation orrefusalto proceed with enforcem entaction.

     Intel,542 U .S.at257,l24 S.Ct.at2478.

            ln so holding,the SupremeCourtnoted thatthe 1964 amendmentto j 1782 replacedthe
     language ûûanyjudicialproceeding''with the currentreference to i(a proceeding in a foreign or
     internationaltribunal.''Intel,542U.S.at258,124S.Ct.at2479(emphasisadded).Thisrevised
     language had been proposed by the Com m ission on lnternational Rules of Judicial Procedure

     (the kkcommission''), which Congress had established in 1958 and directed itto recomm end
     procedural revisions tfor the rendering of assistance to foreign courts and quasi-
                                                                                      judicial
     agencies.''' 1d. The lntel opinion in addition quotes a Iaw review article statem ent by H ans

     Sm it w ho was       Colum bia University Law School Professor and the head of the

     Commission thatûiigtlhetenm ûtribunal'...includesinvestigating magistrates,administrative
     and arbitraltribunals,and quasi-judicialagencies,aswellas conventionalcivil,commercial,
     criminal,and administrative courts'.'' 1d.(quoting Smit,InternationalLitigation Underthe

                                                    9
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 10 of 16


                                                                           CaseN o.:1:19-m c-23253-KM W

     United States Code, 65 Colum . L. Rev.                   1026-1027,and nn.71,73 (1965)). The
     Comm ission's recom m endations, including the revised *dtribunal'' language, w ere adopted

     unanim ously by Congressin 1964.Intel.,542 U.S.at248,124 S.Ct.at2473-2474.3

             The foreign proceedingsalso need noteven presently be çtpending''to satisfy the ddforeign

     orinternationaltribunal''requiremcnt. TheIntelCourtcxprcssly rejected the Second Circuit
     CourtofAppeal'searlierholding in ln re IshihariChemical,251F.3d 120,125 (2nd Cir.
     2001) that the foreign proceeding for which discovery assistance is sought must either be
     Edpending''or(Cim m inenf'.'t (tlnstead, (the Supreme Courtheldlthatj 1782(a)requiresonl
                                                                                            ythat
     a dispositive ruling by the Com m ission,reviewable by the European courts,be w ithin reasonable

     contemplation.'' Intel,524 U .S.at259, l24 S.Ct.at 2480. ln so holding,the Suprem e Coul't

     again cited ProfessorSmitin supportoftheproposition that(ûtgiltisnotnecessary ...forthe
     (adjudicativejproceeding to be pending atthetimethe evidence is sought,butonly thatthe
     evidence is eventually to be used in such a proceeding.''' 1d.at259 and 2480 (quoting Smit,
     lnternationalLitigation Underthe United StatesCode,65 Colum.L.Rev.1015,1027 (1965)).5
     Here,the discovery assistance requested is soughtto facilitate the A pplicant's presently active




       A variety of foreign legal proceedings have been deem ed to satisfy the li
                                                                                tribunal'' requirement. See, e.g.,
     LancasterFactoring Co.,Ltd v.Magnone,90F.3d38(2ndCir.1996)(anltalianbankruptcy proceeding);Inre
     Application of Chevron Corp.,2010 U.S.Dist.Lexis 47034 (S.D.N.Y.2010) (a UNCITRAL arbitration in
     Ecuador);InreApplicationofWinning (HK)ShippingCo.,1/2,2010U.S.Dist.LEXIS54290(S.D.Fla.2010)(an
     anticipated purely private arbitration reviewable undertheEnglish Arbitration Actof1996);OJSC U/ewtz /av.
     Carpatsky Petroleum Corp.,2009 U.S.Dist.LEXIS 109492(D.Con.2009)(aUNCITRAL arbitration in Sweden);
     and InreApplication ofBabcock BorsigAG,5s3F.Supp.         zd 233 (D.Mass.200s)(ananticipatedlnternational
     ChamberofCommercearbitration).
     4 ThecourtinIshihariChemicaldismissedanappealofadenialofarequestforj1782assistanceforbeingmoot.
     Thecourt'sanalysiswasbaseduponadeterminationthattheforeignhearingbeforetheJapanesePatentOffice(the
     <tJPO'')had closed and içthatthe discovery could notbe çforuse in'the currentJPO proceeding ....'' Ishihari
     Chem ical,251F.3d at126.
     5 ProfessorSmitheaded the Comm ission created by the U.S.Congress in l952,whose recom mendations were
     adoptedunanimouslythroughthe 1964 amendmentstoj 1782.
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 11 of 16


                                                                            Case No.:l:19-m c-23253-KM W

     and im m ediately im pending efforts to obtain Gnancial docum ents necessary in the legal
     Proceeding.6

                     4.      Section 1782 Does Not lmpose a Foreign Discoverabilil
                             Requirem ent

             Finally, the Court here need not undelake an assessm ent of the specific discovery

     procedures thatm ay orm ay notbe available abroad in the p'
                                                               oreign proceedings. lntelresolved a

     thenpendingconsia inthecircuitcourtsof-Appeal;by holdingthatj1782doesnotincludea
     foreign discoverability requirement. Intel, 542 u .s. at 253, l24 s. ct. at 2476.8 Judicial

     assistance accordingly may be provided under j 1782 even where the foreign çttribunal''in
     question would notperm itthe type ofdiscovery soughtin the U nited States. The Suprem e Court

     alsoStrejectledl...(thelsuggestionthataj 1782(a)applicantmustshow thatUnitedStateslaw
     w ould allow discovery in dom estic litigation analogous to the foreign proceeding.'' 16L at 263

     and 2482. The Supreme Courtexplained thatj 1782 çtdoesnotdirectUnited States courtsto
     engage in comparative analysis to determ ine w hether analogous proceedings exist here.
     Com parisonsofthatordercan be fraughtw ith danger.'' 1d.9


     6 Following lntel,the Eleventh Circuit Courtof Appeals sustained a districtcourtorder granting a j 1722
     application with respectto apost-judgmentdiscovery requestin furtheranceofaforeign proceeding. See Clerici,
     481F.3d at1333. The Clericicourtreasonedthat:(i)11j 1782 only statesthatthe evidence mustbe tforusein a
     proceedinp'andnothingintheplainIanguageofj 1782requiresthattheproceedingbeadjudicativein nature'';and
     (ii)tttheSupremeCourthasrecognizedtheçbroad rangeofdiscovely'authorized underj 1782 isnotlimitedto
     proceedingsthatare pending orim minent.'' 1d.
     1 Et-rhe Firstand Eleventh Circuits(had)construed j 1782(a)to contain aforeign discoverability requirement....
     The Fourth and Fifth Circuits (hadlheld thatno such requirementexistsifthe j l782(a)applicantisa foreign
     sovereign. ... ln alignment with the Ninth Circuit,the Second and Third Circuits ghad) rejected a foreign-
     discoverabilityrequirement....
                                  ''Intel,542U.S.at: 253,n.7,124 S.Ct.at2476,n.7 (citationsomitted).
     8 There isalso no requirementforan applicantto elicitthe documentsitseeksin the United Statesfrom the foreign
     tribunalpriortoobtaining j 1782discovefy assistance.See,e.g.,MalevHungarianAirlinesv.United Technologies
     lnternational,Inc.,964 F.2d97,l00(2ndCir.1992)(tçW ebelieveitwasimproperforthedistrictcourtto predicate
     itsdenialofanapplicationfordiscovery under22 U.S.C.j 1782 ontheabsenceofarequestforassistancefrom the
     Hungarian coul' t.''). There is, in addition,no requirement thatthe documents sought in the United States be
     admissibly intheproceedingsbeforetheforeigntribunal.See,e.g.,JohnDeere,Ltd v.Sperry Corp.,754F.2d 132,
      l37 (3rd Cir.1985)(tûgAjdistrictcourtisnotto predictthe admissibility ofdiscovered evidence is foreign
     tribunals.'').
     9 TheSecondCircuithadreasonedearlier,inEuromepa,S.  A.v.#.Esmerian,Inc.,51F.3d 1095,1099-1l00(2nd
     Cir.1995),that:
                                                          11
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 12 of 16


                                                                              CaseN o.:1:19-m c-23253-KM W

            D.      The Court Should Exercise Its D iscretion to G rantForeign Discovery
                    Assistance

                    1.       Intel's G uidance R egarding the Exercise ofD iscretion

            Although the Supreme Courthasstronglyaffinned j 17829sbroad reach,thegrantof
     judicialassistancetoforeignproceedingsneverthelessremainsadiscretionarymatter.TheIntel
     Court expressly declined to adopt supervisory rules regarding j 1782 applications. The
     Supreme Courtinstead opted to (sawaitfurther experience with j 1782(a) applications in the
     lowercourts''and to in the interim m erely Sdnote ...factorsthatbearconsideration in ruling on a

     j1782(a)request.''1d.at264and2483.
            Those guiding factors for consideration include:(i) whether the party from which
     discovery issoughtin the United States isa participantin the foreign proceedings;and (ii)the
     nature of the foreign proceedings for w hich discovery assistance is requested. First, the

     Supreme Courtexplained thatwhetherthe United Statestargetofthe j 1782 discovery wasa
     participant in the foreign litigation was a pertinent consideration because there m ight be a

     greater need for assistance in circum stances w here the target could not be com pelled by the

     foreign tribunal to produce discovery. Second, the Supreme Court explained that a

     consideration ofthe nature ofthe foreign proceedingsm ightproperly involve a consideration of:

     (i)the character of the proceedings underway abroad,(ii) the receptivity of the foreign
     government or tribunalto U.S.discovery assistance, and (iii) whether the j 1782 request



            Wethinkitisunwise aswellasintensionwiththeaimsofsection1782 fordistrictjudgesto
            try to glean the accepted practices and attitudes of other nations from whatare likely to be
            contlictingand,perhaps,biased interpretationsofforeignlaw. Although ilalgrantofdiscovery
            thattrenched upon the clearly established procedures ofa foreign tribunalwould notbe w ithin
            section 1782,5 ...w e do not read the statute to condone speculative forays into legalterritories
            unfamiliartofederaljudges.Suchacostly,time-consuming,andinherentlyunreliablemethodof
            decidingsection 1782requestscannotpossiblypromotethettwinaim s'ofthestatute.
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 13 of 16


                                                                              CaseN o.:1'
                                                                                        .l9-m c-23253-KM W

     (sconceals an attem pt to circum vent foreign proof-gathering restrictions or other policies of a

     foreign country orthe United States.'' Intel,542 U .S.at264-265,l24 S.Ct.at2483.10

                      2.      The Pertinent Circum stances H ere Support a G rant of
                              Discovery Assistance

             A n assessm ent of the pertinent factors w eighs heavily in favor of granting the

     Applicant's requestfordiscovery assistance here. A sis detailed above,lntelisan exceptionally

     strong affirmation ofthe longstanding public policy underlying j 1782 favoring international
     discovery assistance. A grant of the Applicant's m otion w ould also be consistent w ith the

     lim ited guidance provided by the lntel Court, since Respondents are not a party to or

     participants in the Foreign Proceeding thatmightbe compelled by the foreign tribunalts)to
     provide discovery. The nature ofthe Foreign Proceeding also doesnotim plicate any factoror

     policy thatwould w eigh againsta grantofthe A pplication. A grant ofthe assistance requested

     by the Applicants accordingly would not offend any foreign jurisdiction or constitute a
     circum vention offoreign proof-gathering rules.

             E.       TheCourtM ay M onitorOngoing j 1782 Activity in Accordance W ith the
                      FederalR ulesofCivilProcedure

             A grant of the Application would not deprive the Court of its ability to oversee the

     ensuing j l782 discovery. Section l782 contemplatestheCourt'songoing supervisionofthe
     discovery assistance to be provided by stating that:



      :0 On example ofa courtdeterm ination thatan applicantsoughtimproperly to circumventthe proceduresorpolicies
     ofaforeigntribunalisInreApplicationofMicrosoottCorp.,2006U.S.Dist.LEXIS32577(D.Mass.2006),where
     M icrosoftsoughtU .S.discovery assistance in supportof a European Union Comm ission antitrust proceeding
     investigating M icrosoh'sbusinesspractices. TheCourtdeclinedtherequestwheretheforeign ççtribunal''- i.e.,the
     European Union Commission- intervened in the U.S.j l7s2 proceedings and advised the districtcourtthat
     tttpermitting the discovery requested by M icrosoftwould contravene principlesofinternationalcomity since,in this
     case,theCommissionisnotreceptivetothejudicialassistancesoughtbyMicrosoftpursuantto22U.S.
                                                                                            C.j1782
     and,indeed,believesthatenforcem entofM icrosoft'ssubpoenawould pose a serious risk thatthe Comm ission's
     rulesand proceduresconcerning competition law enforcementwould be circumvented.''' Id at* 7 (quoting
     Memorandum oftheCommissionoftheEuropeanUnion inSupportofNovel,lnc.'sMotiontoQuash).
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 14 of 16


                                                                               CaseN o.:1:19-m c-23253-KM W

                      The orderm ay prescribe the practice and procedure,which m ay be

                      in w hole or in part the practice and procedure of the foreign

                      country or the internationaltribunal, for taking the testim ony or

                      statem entorproducing the docum entorotherthing. To the extent

                      that the order does not prescribe otherwise, the testim ony or

                      statem ent shall be taken, and the docum ent or other thing

                      produced,in accordance w ith the FederalRulesofCivilProcedure.

     The Courtaccordingly retains its ability to m anage discovery issues through FederalRule of

     CivilProcedure26 (andothenvise). See,e.g.,Edelman,295 F.3d atl78-179(although j 1782
     could beused tojustify serviceofa subpoenaupon aperson who residesand worksabroad,
     w hile m erely visiting the United States,the courtretained the ability to m inim ize any undue

     burden on the w itness by applying the loo-m ile rule in Federal Rule of Civil Procedure

     45(c)(3)(A)(ii)andbyissuingprotectiveorderspursuanttoRule26(c)).11




     11 Anotherexampleofa court'songoing oversightofj 1782 discovery is United Kingdom v.United States,238
     F.3d 1312 (1lthCir.2001),whichinvolvedarequestfordiscoverybyaBritishcourtoverseeingacriminalmatterin
     which the defendantshad requested thatthe British courtissue a requestforthe production ofççcertain sensitive 1aw
     enforcementdocumentspossessedbytheUnitedStates,includinggrandjurymaterials,workproduct,andwiretap
     information,allofwhich(allegedly)wererelevantto(the)defenseof(the)criminalprosecutioninEngland.''Id at
     l314. The districtcourt'sexerciseofdiscretion in managing com peting intereststo allow som e ofthe discovery
     requestedandtoperm itothermaterialstobeprotectedonthegroundsofprivilegewasdeemedtobe appropriateand
     upheldonappeal.Id.at1324(ççTosummarize,thescopeofourreview inthisappealislimitedanddeferential.The
     district court gave the required respect to the English court's order and important considerations of comity
     underlyingj1722,butrecognizedthatcompetingdomesticlaw enforcementandprivacyconcernsarticulatedbythe
     Government(toftheUnitedStateslljustifiedwithholdingsome(butnotall)oftheitemsinquestion.'').
                                                            14
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 15 of 16


                                                                   Case N o.:l:l9-m c-23253-KM W

                                          IV .   Conclusion

            ln Iight of the foregoing,the A pplicants respectfully request that their A pplication be

     granted.

           Date:August 14,2019                         Respectfully subm itted,

                                                        By:/s/G ustavo Z L am elas
                                                       GustavoJ.Lamelas(Fla.BarNo.995983)
                                                       Email:gus@ lamelaslaw.com
                                                       DanielBuigas(Fla.Bar.No.98293)
                                                       Email:daniel@ lamelaslaw.com
                                                       Lam elasLaw ,PA
                                                       2525 Ponce de Leon Blvd.,Ste.300
                                                       CoralGables,Florida 33134
                                                       Telephone:(305)395-4010
                                                        Counselfor Applicant
Case 1:19-mc-23253-KMW Document 4 Entered on FLSD Docket 08/14/2019 Page 16 of 16


                                                                Case N o.:1:19-m c-23253-KM W

                                       CertjficateofSçrf-içv
          1hereby certify thata true and correctcopy ofthe foregoing was served by U .S.m ail,on
     August14,2019,on al1personsidentified on the Service Listbelow .

                                                     By:/s/D anielB uigas



                                            Service List

     Banesco USA                                     M iura lnvestm entAdvisors,Inc.
     c/o Entity Registered A gentLLC                 Som ersetCorporate Services,lnc.
     Juan E.Serralles                                lA lham bra Plaza
     201 S.Biscayne Blvd.,Ste.2600                   Suite l40
     M iam i,Florida 33131                           CoralGables,Florida 33134

     SunrrrustBank                                   ltalo D'A lfonso
     Corporation Service Com pany                    lll0 BrickellA venue,Ste.515
     1201 HaysStreet                                 M iam i,Florida 33131
     Tallahassee,Florida 32301
                                                     M ario V .D 'A lfonso
     SunTrustBanks,lnc.                              ll10 BrickellA venue,Ste.515
     Corporation Service Com pany                    M iam i,Florida 33131
     1201 HaysStreet
     Tallahassee,Florida 32301                       H ugo O rtega
                                                     l110 BrickellA venue,Ste.515
                                                     M iam i,Florida 33131

                                                     M ario O valles
                                                     l110 BrickellA venue,Ste.515
                                                     M iam i,Florida 33131
